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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    PEGGY SASSO, CA Bar #228906
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
6    Attorney for Defendant
     THOUNETHEPMITH VONGSENEKEO
7

8                                      IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            NO. 1:12-cr-00342 AWI-DLB
                                           )
12                     Plaintiff,          )            STIPULATION TO CONTINUE STATUS
                                           )            CONFERENCE HEARING;
13         v.                              )            ORDER
                                           )
14   THOUNETHEPMITH VONGSENEKEO,           )            Date: December 10, 2012
                                           )            Time: 1:00 p.m.
15                     Defendant.          )            Judge: Hon. Dennis L. Beck
                                           )
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties through their respective counsel,

18   Assistant United States Attorney Karen Escobar, Counsel for Plaintiff, and Assistant Federal Defender
19   Peggy Sasso, Counsel for Defendant Thounethepmith Vongesenekeo, Steven L. Crawford, Counsel for
20   Defendant Phanetavanh Southammavong, Katherine L. Hart, Counsel for Sam Kounhavong, Daniel L.
21   Harralson, Counsel for Sengphachanh Boungnavong and James R. Homola, Counsel for Symery
22   Saykganya that the hearing currently set for October 22, 2012 at 1:00 p.m. before Judge Beck, may be

23   rescheduled to December 10, 2012 at 1:00 p.m.
24          The government provided initial discovery on October 16, 2012. The requested continuance is
25   necessary to allow time for plea discussions. The requested continuance will conserve time and resources
26   for both counsel and the court.
27   ///

28   ///
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1              The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

3    3161(h)(7)(B)(i) and (iv) because the ends of justice served in granting such continuance outweigh the
4    best interests of the public and the defendant in a speedy trial.
5
                                                                      BENJAMIN B. WAGNER
6                                                                     United States Attorney
7
     Dated: October 18, 2012                                          /s/ Karen A. Escobar
8                                                                     KAREN A. ESCOBAR
                                                                      Assistant United States Attorney
9                                                                     Attorney for Plaintiff
10
                                                                      DANIEL J. BRODERICK
11                                                                    Federal Defender
12
     Dated: October 18, 2012                                          /s/ Peggy Sasso
13                                                                    PEGGY SASSO
                                                                      Assistant Federal Defender
14                                                                    Attorney for Defendant
                                                                      Thounethepmith Vongsenekeo
15
16   Dated: October 18, 2012                                          /s/ Steven L. Crawford
                                                                      STEVEN L. CRAWFORD
17                                                                    Attorney at Law
                                                                      Attorney for Defendant
18                                                                    Phanetavanh Southammavong
19
     Dated: October 18, 2012                                          /s/ Katherine L. Hart
20                                                                    KATHERINE L. HART
                                                                      Attorney at Law
21                                                                    Attorney for Defendant
                                                                      Sam Kounhavong
22

23   Dated: October 18, 2012                                          /s/ Daniel L. Harrison
                                                                      DANIEL L. HARRISON
24                                                                    Attorney at Law
                                                                      Attorney for Defendant
25                                                                    Sengphachanh Boungnavong
26
     Dated: October 18, 2012                                          /s/ James R. Homola
27                                                                    JAMES R. HOMOLA
                                                                      Attorney at Law
28                                                                    Attorney for Defendant
                                                                      Symery Saykganya

     Vongsenekeo: Stipulation to Continue
     Status Conference Hearing; [Proposed] Order            -2-
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1                                                     ORDER
2                   IT IS SO ORDERED.

3                  Dated:          October 19, 2012             /s/ Dennis L. Beck
     3b142a                                             UNITED STATES MAGISTRATE JUDGE
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     Vongsenekeo: Stipulation to Continue
     Status Conference Hearing; [Proposed] Order       -3-
